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                   IN THE UNITED STATES DISTRICT COURT FOR THE

                              EASTERN DISTRICT OF VIRGINIA

                                    RICHMOND DIVISION


 UNITED STATES OF AMERICA


         V.                                           CaseNo.3:21-CR-045


 EUGENE JOHNSON,JR.,

        Defendant.



                                    STATEMENT OF FACTS


       The United States and the defendant, EUGENE JOHNSON,JR.(hereinafter,"the

defendant"), agree that the allegations in the Criminal Information and the following facts are

true and correct and that, had the matter gone to trial, the United States would have proven them

beyond a reasonable doubt, by competent and admissible evidence:

        1.     Beginning in or about at least December 2014 and continuing through in or about

at least January 2018, in the Eastern District of Virginia and elsewhere, the defendant, with the

intent to defraud, did knowingly devise and execute a scheme and artifice to defraud women he

met through online dating websites of money and property by falsely affirming a romantic

attachment to the women and then falsely claiming to have various pressing financial needs for

which he solicited money. The defendant directed the women to send him the solicited funds

through interstate wire transfers and cash shipments via private and commercial interstate carriers.

The defendant then used these funds to enrich himself and pay personal debts different from those

for which he claimed to need money.

       2.      The defendant used online dating websites, including Plenty of Fish, to meet

women residing in various states, including Virginia. Plenty of Fish is a Canadian online dating

service based in Vancouver, British Columbia. By using that platform, the defendant caused


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interstate wire transmissions from,to, and through computers and servers located in various states,

including Virginia, to, from,and through Plenty of Fish computers and servers located in Canada.

After identifying and contacting women through Plenty of Fish and other online dating websites,

the defendant obtained their telephone numbers and, thereafter, communicated with the women

primarily by text messages and phone calls.

       3.      The defendant used various aliases when interacting with women online and by

phone and text, including "Tony Taylor" and "Michael Royer." Posing as these individuals, the

defendant also falsely claimed to be an active-duty United States Marine from Maine with a son

for whom he and his mother shared custody following the death of the child's mother. When

purporting to establish a romantic attachment to the women he targeted,the defendant claimed that

he wanted to marry each woman, buy a house with her, and raise his son and any children she

might have together.

       4.      Shortly after purportedly establishing romantic relationships with the women, the

defendant began asking them to send him money for various pressing financial needs. The

defendant's claims varied, but generally involved some form of car, financial, legal, or health

problem about which he presented as very emotional. With respect to his purported car troubles,

the defendant falsely claimed that his car key had been lost or stolen in a mugging, along with

several expensive Christmas gifts. The defendant would then ask the women to send him

hundreds of dollars to replace the key and gifts. With respect to his purported financial troubles,

the defendant falsely claimed that his bank accounts had been frozen, either due to his own tax

troubles with the IRS or financial difficulties that his parents had encountered while traveling

internationally with his son. The defendant would then ask the women to send him money for a

down payment to the IRS or to help his family return to the United States. Similarly, with respect
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to his purported legal troubles, the defendant falsely claimed that he had various forms of tax

trouble with the IRS for which he either had been or would be arrested. The defendant then asked

the women to send him money for bond or a down payment to avoid arrest. Finally, with respect

to his purported health problems,the defendant falsely claimed that either he or his child were sick

or injured and needed money for medical expenses.

       5.      To bolster these, claims,the defendant sent the women text messages from different

phone numbers in which he posed as various individuals with corroborating information,including

his mother, law enforcement and military officers, and healthcare providers.

       6.      Whatever the purported reasons for which he solicited money,the defendant falsely

promised to repay that money from various sources and at various times. Specifically, the

defendant falsely told women that he had(1)significant savings he had accrued while on overseas

military deployments, (2) lottery pool winnings of approximately $400,000, and (3) a large

settlement resulting from the death of his child's mother. The defendant falsely promised to repay

victims from those funds after his bank accounts were unfrozen or, in the alternative, after he

received a large sum of money that he claimed the govemment owed him. In truth, the defendant

did not then have and was not then entitled to receive any significant sum of money.

       7.      Believing and relying on the defendant's misrepresentations concerning his identity

and financial needs, his romantic interest in them, and his intent and ability to repay them, the

women sent the defendant money as directed. Once a woman sent the defendant money to assist

with one of his purported needs,the defendant continued to ask that woman for money to meet the

other needs. For example, if a woman sent the defendant money to replace the defendant's car

key and Christmas gifts,the defendant then sought money to address his tax troubles and his child's

illness, claiming that he could not repay her until the former had been resolved. The women sent
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the defendant money from their own savings and income and, after exhausting those sources,from

credit and loan accounts they opened,sometimes at the defendant's direction,to continue assisting

the defendant with his purported financial needs. The defendant continued soliciting money from

each woman until she exhausted her own resources, refused to send any further sums, or began

questioning the veracity of his various claims.

       8.      The defendant directed the women to send him the requested funds through various

means. Initially, the defendant instructed women to wire funds using MoneyGram, Western

Union,and other interstate money transfer services using a code word that would authorize him to

receive the funds. After these money transfer services began requiring recipients to present

identification documents,the defendant started directing women to send cash in packages through

FedEx, UPS, and other interstate commercial carriers to a motel in Alton, Maryland. When

women residing in Virginia hesitated to send cash shipments,the defendant met them in person at

locations in Maryland and Virginia, including the Alton, Maryland hotel and various Dahlgren,

Virginia businesses.

       9.      Through this scheme,the defendant defrauded at least eight(8)women from at least

three different states of at least $276,361.65 between at least December 2014 and January 2018.

None of these women would have given the defendant money if she had known that he was not

who he claimed to be, did not intend to pursue a romantic relationship with her, would not spend

the money on the expenses for which she had sent it, and could not and did not intend to repay her

as claimed.


       10.     Once he had received the women's money,the defendant used it to make personal

expenditures different from those for which he claimed to need funds. The defendant deposited

some ofthe money into his personal credit union accounts and subsequently used it to pay personal
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loans and other expenses. Contrary to his repeated promises, the defendant never repaid any of

the money.

       11.     Among other women, the defendant defrauded A.J., a then-45-year-oid woman

residing in Virginia Beach, Virginia, within the Eastern District of Virginia. A.J. met the

defendant, who she knew as"Tony Taylor," on the Plenty ofFish website in or about August 2017.

Their online chat quickly progressed to daily telephone calls. In these calls, the defendant

repeatedly told A.J. that he planned to move to Virginia Beach so that they could have a future

together. After approximately one month of these daily conversations, the defendant told A.J.

that his truck had been stolen and that he needed $200 to $300 to get a new key made. When A.J.

agreed to send the defendant the money, he directed her to ship it in cash via FedEx to the Bel

Alton Motel in Bel Alton, Maryland. Thereafter, the defendant told A.J. that he was in trouble

with the IRS and that his child was ill. The defendant asked A.J. for more money to address his

tax troubles and care for his child. A.J. continued to provide the requested funds, both in person

and through numerous additional FedEx shipments to the Bel Alton Motel until January 2018.

       12.     Between August 2017 and January 2018, A.J. sent and provided the defendant a

total of at least $8,257.34. A.J. sent most of this money in sixteen (16)separate cash shipments

from a FedEx location in Virginia Beach, Virginia to the Bel Alton Motel between August 18,

2017 and January 8,2018, including a FedEx shipment containing a quantity ofU.S. currency that

A.J. sent at the defendant's direction on January 8,2018 bearing tracking number 789264259339.

A.J. would not have given the defendant any money if she had known that he was not who he said

he was, did not intend to pursue a relationship with her, and would not use the money for the

expenses for which he had claimed to need it.
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       13.     After A.J. stopped sending money,the defendant continued to ask her for additional

funds. The defendant repeatedly asked A.J. to obtain payday loans, as well as a loan from H&R

Block against A.J.'s tax refund. A.J. declined to borrow these funds and ceased communicating

with the defendant. The defendant never repaid A.J. as promised.

       14.     In January 2018, another woman filed a police report with the King George,

Virginia Sheriffs Office concerning money she had similarly provided the defendant in their

jurisdiction. This woman gave a description of the defendant and his vehicle, as well as the

address ofthe King George hotel at which she had met him. On January 24,2018,officers located

the defendant at that same hotel. When first approached, the defendant claimed to be staying at

the hotel for work, but then acknowledged that he was there to meet a woman. After positively

identifying the defendant as the subject of the above-described complaint, officers placed him

under arrest. The defendant had two cell phones with him when arrested. After being advised

of and waiving his Miranda rights, the defendant stated that he had traveled to the hotel to "hang

out" with a woman he had met on Craigslist. The defendant acknowledged meeting other women

at that hotel, including the woman who had made the complaint. The defendant admitted using

aliases when meeting women to prevent them from "stalk[ing]" him. The defendant also admitted

receiving money from the complaining victim "maybe once" or "a few times." The defendant

estimated only receiving "a couple of hundred" dollars for "stuff, gas,[and]food."

       15.     Forensic examination of defendant's cell phones pursuant to a state search warrant

revealed saved contact information for several of the women who he had defrauded, as well as

photographs that the defendant had sent to those women.

       16.     This statement offacts includes those facts necessary to support the plea agreement

between the defendant and the United States. It does not include each and every fact known to
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the defendant or to the United States, and it is not intended to be a full enumeration of all of the

facts surrounding the defendant's case.

        17.    The actions ofthe defendant, as recounted above, were in all respects knowing and

deliberate, and were not committed by mistake, accident, or other innocent reason.


                                                Respectfully submitted.

                                                Raj Parekh
                                                Acting United States Attorney


 Date


                                                Assistant United States Attorney


                                          By:
                                                Kaitlin G. Cooke
                                                Assistant United States Attorney
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       After consulting with my attorney and pursuant to the plea agreement entered into this day

between the defendant, EUGENE JOHNSON, JR., and the United States, I hereby stipulate that

the above Statement of Facts is true and accurate, and that had the matter proceeded to trial, the

United States would have proved the same beyond a reasonable doubt.




                                             EUGENE JOE



       I am the defendant's attorney. I have carefully reviewed the above Statement of Facts

with him. To my knowledge,his decision to stipulate to these facts is an informed and voluntary

one.




                                             CharfeSvLewis,
                                             Attorney for EUGENE JOHNSON,JR.
